                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: ALLEN G. STONE and                            : CHAPTER 13
       CAROLYN A. STONE                              :
           Debtor(s)                                 :
                                                     :
         CHARLES J. DEHART, III                      :
         STANDING CHAPTER 13 TRUSTEE                 :
            Movant                                   :
                                                     :
              vs.                                    :
                                                     :
         ALLEN G. STONE and                          :
         CAROLYN A. STONE                            :
             Respondent(s)                           : CASE NO. 1-20-bk-02763


                     TRUSTEE’S OBJECTION TO CHAPTER 13 PLAN

                AND NOW, this 3rd day of December, 2020, comes Charles J. DeHart, III,
Standing Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’
plan for the following reason(s):

              1. The Trustee provides notice to the Court as to the ineffectiveness of debtor(s)
Chapter 13 Plan for the following reasons:

                    a. Clarification of vesting of property.

               WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable and
therefore Trustee prays that this Honorable Court will:

                    a. Deny confirmation of debtor(s) plan.
                    b. Dismiss or convert debtor(s) case.
                    c. Provide such other relief as is equitable and just.

                                                 Respectfully submitted:



                                                 /s/Charles J. DeHart, III
                                                 Standing Chapter 13 Trustee
                                                 8125 Adams Drive, Suite A
                                                 Hummelstown, PA 17036
                                                 (717) 566-6097




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                                  CERTIFICATE OF SERVICE

               AND NOW, this 7th day of December, 2020, I hereby certify that I have served
the within Objection by electronically notifying parties or by depositing a true and correct copy of
the same in the United States Mail at Harrisburg, Pennsylvania, postage prepaid, first class mail,
addressed to the following:

Michael Caum, Esquire
P.O. Box 272
Shrewsbury, PA 17361


                                                 /s/Deborah A. Behney
                                                 Office of Charles J. DeHart, III
                                                 Standing Chapter 13 Trustee2




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